      Case 2:12-cv-00859-LMA-MBN Document 1331 Filed 09/09/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    LASHAWN JONES, ET AL.                                   CIVIL ACTION NO. 12-859

    VERSUS                                                  SECTION I, DIVISION 5

    MARLIN GUSMAN, ET AL.                                   JUDGE LANCE M. AFRICK
                                                            MAGISTRATE JUDGE NORTH


      THE CITY OF NEW ORLEANS’ RESPONSE TO THE COURT ORDER
       REQUIRING PRODUCTION OF A WRITTEN STATEMENT FROM
THE FORMER CITY ATTORNEY REBECCA DIETZ PURSUANT TO REC. DOC. 1320

MAY IT PLEASE THE COURT:

        The City of New Orleans (the “City”) respectfully submits this Response to the Court’s

Minute Entry requesting the City to provide “the Court with the written statement submitted by

former City Attorney Rebecca Dietz in connection with Motion M-17-261 on May 18, 2017.”

(Rec.Doc. 1320, p. 4).

        Based on a review of the associated New Orleans City Council (the “City Council”) record,

there was no publicly issued written statement by Ms. Dietz that was presented to the City Council

and made part of the public record. While Ms. Dietz did offer comments publicly,1 any written

statement or correspondence issued by Ms. Dietz to her client, the New Orleans City Council,

arguably is subject to the attorney-client privilege.2 See S.E.C. v. Microtune, Inc., 258 F.R.D. 310,

315 (N.D. Tex. 2009). The City reserves and does not waive the attorney-client privilege as to

Ms. Dietz and her then-client, the New Orleans City Council, and the City does not consent to



1
 See https://cityofno.granicus.com/MediaPlayer.php?view_id=42&clip_id=2641&meta_id=372678.
2
 In accordance with the Home Rule Charter, the City Attorney represents the Mayor and City Council. See Home
Rule Charter, Chpt 4, Sec. 4-401(2).


                                                      1
     Case 2:12-cv-00859-LMA-MBN Document 1331 Filed 09/09/20 Page 2 of 3




submitting any written statements of former City Attorneys prepared for their client as part of a

litigation matter.



                                                    Respectfully submitted,


                                                    __/s/ Sunni J. LeBeouf________________
                                                    SUNNI J. LEBEOUF (LSBA #28633)
                                                    CITY ATTORNEY
                                                    Email: Sunni.LeBeouf@nola.gov
                                                    DONESIA D. TURNER (LSBA #23338)
                                                    Email: Donesia.Turner@nola.gov
                                                    CHURITA H. HANSELL (LSBA #25694)
                                                    Email: chhansell@nola.gov
                                                    1300 PERDIDO STREET
                                                    CITY HALL – ROOM 5E03
                                                    NEW ORLEANS, LOUISIANA 70112
                                                    TELEPHONE: (504) 658-9800
                                                    FACSIMILE: (504) 658-9868

                                                    - and -

                                                    __/s/ Harry Rosenberg_________________
                                                    HARRY ROSENBERG (LSBA #11465)
                                                    Email: harry.rosenberg@phelps.com
                                                    PHELPS DUNBAR, LLP
                                                    365 CANAL STREET
                                                    CANAL PLACE – SUITE 2000
                                                    NEW ORLEANS, LOUISIANA 70130
                                                    TELEPHONE: (504) 584-9219
                                                    FACSIMILE: (504) 568-9130

                                                    Counsel for the City of New Orleans




                                               2
     Case 2:12-cv-00859-LMA-MBN Document 1331 Filed 09/09/20 Page 3 of 3




                                 CERTIFICATE OF SERVICE


       I do hereby certify that on this 9th day of September 2020, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

by operation of the court’s electronic filing system. I also certify that a copy of the foregoing will

be sent to all non-CM/ECF participants by United States Mail, properly addressed and postage

pre-paid.

                                                      __/s/ Sunni J. LeBeouf________________
                                                      SUNNI J. LEBEOUF




                                                  3
